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 1
 2                                UNITED STATES DISTRICT COURT
 3                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 4
 5    JAMAL RASHID TRULOVE,                             Case No. 16-cv-00050-YGR
 6           Plaintiff,
                                                        AMENDED JUDGMENT ON
 7                   vs.                                VERDICT

 8    MAUREEN D’AMICO, MICHAEL
 9    JOHNSON, ET AL.,
10           Defendants.
11
            This action came on for trial on March 12, 2018, in Courtroom 1 of the United States
12
     District Court, Northern District of California, Oakland Division, Honorable Yvonne Gonzalez
13
14   Rogers, presiding. The Plaintiff in this case, No. CV 16-00050-YGR, Jamal Rashid Trulove,

15   was represented by Nick Brustin, Anna Benvenutti Hoffmann, Meghna Philip, Alex Reisman,
16   and Kate Chatfield. Defendants Maureen D’Amico, Michael Johnson, John Evans, and Robert
17
     McMillan, were represented by the San Francisco City Attorney’s office, through Deputy City
18
     Attorneys Margaret Baumgartner, Kelly Collins, and Renee Rosenblit.
19
20          Witnesses were sworn and testified. After hearing the evidence, the jury was instructed

21   by the Court and the case was submitted to the jury. Eight sworn jurors deliberated. The issues
22   having been duly tried and the jury having duly rendered its verdict for plaintiff and against
23
     Defendants Michael Johnson and Maureen D’Amico only ([Dkt 523]:
24
            IT IS ORDERED that Plaintiff Jamal Rashid Trulove shall recover the sum of
25
26   $10,000,000.00 from Maureen D’Amico and Michael Johnson, plus post-judgment interest,

27   costs, and attorney’s fees as provided by law.
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            IT IS ALSO ORDERED that Plaintiff shall take nothing from Defendants John Evans
 1
 2   and Robert McMillan.

 3          Pursuant to the stipulation of the parties (Dkt. No. 573), IT IS FURTHER ORDERED
 4
     that, pursuant to Rule 54(d) and 42 U.S.C. § 1988, defendants Maureen D’Amico and Michael
 5
     Johnson shall pay to plaintiff Jamal Trulove $4,500,00.00 in fees and costs, plus post-judgment
 6
 7   interest as provided by law in accordance with the terms of the stipulation.

 8   DATED: _______________
            May 25, 2018                                  _______________________________
                                                          YVONNE GONZALEZ ROGERS
 9                                                        UNITED STATES DISTRICT COURT
10
11   APPROVED AS TO FORM:
12   By: /s/ Margaret W. Baumgartner
13   Margaret W. Baumgartner, Attorney for Defendants

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